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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:05-cr-00031-SPM-AK

TAMIR MORGAN BUTLER,

      Defendant.
___________________________/

                                          ORDER

       This cause was originally scheduled for a change of plea hearing on November 7, 2005,

following referral from Judge Stephen Mickle. On that date, the Court was orally advised that

Defendant wanted a continuance of the hearing, and it was cancelled. Presently before the Court

is Doc. 76, Motion to Continue Change of Plea Hearing, by Tamir Morgan Butler. As grounds

for this motion, Defendant advises that discovery is on-going and the Government does not

object to the request.

       Having carefully considered the matter, the Court finds the motion is well taken, and it is

GRANTED. Following referral, Judge Mickle set November 18, 2005, as the deadline “to

advise the Court whether [Defendants] intend to proceed to trial or plead guilty.” Doc. 74. That

deadline remains in effect, and thus, Defendant Butler must advise the undersigned no later than

November 18, 2005, at 5:00 p.m., whether he intends to go forward with a change of plea.

       DONE AND ORDERED this 9th             day of November, 2005.


                             s/ A. KORNBLUM
                             ALLAN KORNBLUM
                             UNITED STATES MAGISTRATE JUDGE
